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                                                                                     Hon. Robert S. Lasnik
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 7
                                   UNITED STATES DISTRICT COURT
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 9
                                WESTERN DISTRICT OF WASHINGTON

10                                              AT SEATTLE

11                                                         No. CR 13 – 197 RSL
     UNITED STATES OF AMERICA,
12                                                         ORDER GRANTING DEFENDANT’S
            Plaintiff,
                                                           MOTION FOR UNITED STATES
13
            v.                                             MARSHAL SERVICE TO PROVIDE
14                                                         TRANSPORTATION EXPENSES
     DELIA SOTO,
15
            Defendant.
16

17
            Defendant’s motion for transportation expenses came on regularly for hearing, and the
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     Court, being fully advised, finds that the defendant is scheduled to enter a guilty plea on January
19
     10, 2014, resides in Symar, California – a location outside this judicial district, is financially
20
     unable to pay for transportation expenses to attend the plea hearing, and that the interests of
21

22   justice would be served by the provision of transportation by the United States Marshals Service

23   as authorized by 18 U.S.C. § 4285,

24          IT IS THEREFORE ORDERED that defendant's Motion is GRANTED, and the United
25   States Marshals Service is hereby directed to provide Defendant Delia Soto with round trip air
26
     ORDER GRANTING DEFENDANT’S MOTION FOR                               LAW OFFICES OF STEPHAN R. ILLA, INC. P.S.
     TRANSPORTATION EXPENSES – 1                                                                 P.O. BOX 10033
                                                                                            SEATTLE, WA 98110
                                                                                                 (206) 464-4142
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     fare from Burbank, California to Seattle, Washington, plus necessary subsistence expenses, not
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 2
     to exceed the amount authorized as a per diem allowance for travel under 5 U.S.C. § 5702(a), to

 3   enable her to attend her plea hearing on January 10, 2014.

 4
               ORDERED this 3rd day of January, 2014.
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                                                         A
                                                         Robert S. Lasnik
                                                         United States District Judge
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     Presented by:
13   LAW OFFICES OF STEPHAN R. ILLA

14

15

16   Stephan R. Illa
                WSBA No. 15793
     Attorney for Defendant
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     ORDER GRANTING DEFENDANT’S MOTION FOR                             LAW OFFICES OF STEPHAN R. ILLA, INC. P.S.
     TRANSPORTATION EXPENSES – 2                                                               P.O. BOX 10033
                                                                                          SEATTLE, WA 98110
                                                                                               (206) 464-4142
